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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
__________________________________________
ALLEGHENY RADIOLOGY                        : Civil Action No. 2:17-cv-196-MPK
ASSOCIATES, LTD.,                          :
                                           :
                        Plaintiff,         : The Honorable Maureen P. Kelly
                                           :
            v.                             :
                                           :
SHARON PENNSYLVANIA HOSPITAL               :
COMPANY, LLC d/b/a SHARON REGIONAL         :
HEALTH SYSTEM,                             :
                                           :
                        Defendant.         : ELECTRONICALLY FILED
__________________________________________:

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, Allegheny Radiology Associates, Ltd., and Defendant Sharon Pennsylvania Hospital

Company, LLC d/b/a/ Sharon Regional Health System, by and through their undersigned counsel, file

this Joint Stipulation of Dismissal with Prejudice, stating as follows:

      1.      The above-captioned action is dismissed pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii).

      2.      Each party shall bear its own costs.

                           Respectfully submitted,


Date: August 23, 2017      s/ William L. Stang                       s/ John M. Steidle
                           William L. Stang, Esquire                 John M. Steidle, Esquire
                           Pa. ID No. 33221                          Pa. ID No. 84404
                           Joshua S. Snyder, Esquire                 Stuart T. O’Neal III, Esquire
                           Pa. ID No. 315845                         Pa. ID No. 89097
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                           jsnyder@foxrothschild.com                 soneal@burnswhite.com
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              Counsel for Plaintiff,               Counsel for Defendant,
              Allegheny Radiology Associates,      Sharon Pennsylvania Hospital
              Ltd.                                 Company, LLC d/b/a Sharon
                                                   Regional Health System
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                                    CERTIFICATE OF SERVICE


       I hereby certify that on August 23, 2017, a true and correct copy of the foregoing Joint

Stipulation of Dismissal with Prejudice was filed with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to all registered users, including the below-listed Counsel for

Defendant:

                                     John M. Steidle, Esquire
                                   Stuart T. O’Neal III, Esquire
                                        Burns White LLC
                                       Burns White Center
                                          48 26th Street
                                      Pittsburgh, PA 15222

                                       Counsel for Defendant,
                             Sharon Pennsylvania Hospital Company, LLC
                                 d/b/a Sharon Regional Health System




                                                              s/ William L. Stang
                                                              William L. Stang, Esquire
